                                                                       Emeritus Staff Center
                                                                  Plummer Building, North 10
                                                                         200 First Street, SW
                                                                 Rochester, Minnesota 55905
                                                                               507-284-2691


February 27, 2024


Re: Letter of Recommendation for LT Ian Lucas




To whom it may concern:

I am writing to confirm LT Ian Lucas’ dedication to “the care and best interest of others and betterment
of the community,” in his commitment to the people of the State of Tennessee and in particular to his
dedication to serving those in need in our at-risk populations in Appalachian East Tennessee.

As the Lieutenant’s commanding officer in the Tennessee State Guard I have had opportunity to
observe him closely over the last six months in his volunteer role teaching CPR and other medical
topics to our Tennessee National Guard, the State Guard, and members of the Nashville medical
community.

Additionally, we have had opportunity to discuss his future career plans and how he may be able to
best utilize his education to the benefit of communities in need in Eastern Tennessee where so many
rural communities where face shortages in resources and trained medical personnel. This desire on his
part is admirable and he will have a positive impact on any community where he chooses to work and
reside in the future.

Very respectfully,




Robert C. Miller, MD, MBA, FRSA
Emeritus Professor of Radiation Oncology, Mayo Clinic
Major, Medical Command, Tennessee State Guard, 41st Medical Company, 61st Battalion




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